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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    UNITED STATES OF AMERICA,                          CASE NO. CR15-0202-JCC
10                          Plaintiff,                   MINUTE ORDER
11           v.

12    ENRIQUE AGUILAR VALENCIA,

13                          Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on the parties’ stipulated motion concerning a
18   briefing schedule (Dkt. No. 375). Having thoroughly considered the motion and the relevant
19   record, the Court hereby ORDERS as follows:
20      1. Counsel for Enrique Aguilar Valencia shall file any amended or substituted motion on or
21          before October 19, 2020;
22      2. The United States shall file a response to the motions for reduction in sentence on or
23          before November 2, 2020;
24      3. Any reply brief will be filed on or before November 6, 2020, and the matter noted for that
25          date.
26      4. The Clerk is DIRECTED to re-note Mr. Valencia’s motion for compassionate release


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 1         (Dkt. No. 361) to November 6, 2020.

 2

 3         DATED this 16th day of October 2020.

 4                                                William M. McCool
                                                  Clerk of Court
 5
                                                  s/Tomas Hernandez
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                                                  Deputy Clerk
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